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                 IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                        EASTERN DISTRICT OF PENNSYLVANIA

 _________________________________
 IN RE: LITTLE WASHINGTON         :                  CHAPTER 11
           FABRICATORS, INC.      :                  BANKRUPTCY NO. 22-10695 (PMM)
                                  :
 ________________________________ :
 LITTLE WASHINGTON                :
 FABRICATORS, INC.                :                  Adv. No. 22-________
                   Plaintiff      :
                                  :
        v.                        :
 PARKVIEW BUILDERS LLC            :
 d/b/a PARKVIEW BUILDERS INC.     :
                   Defendant      :


                                          COMPLAINT

          Plaintiff, Little Washington Fabricators, Inc. (“LWF”), hereby states the following as

 its complaint and adversary claim against Defendant Parkview Builders LLC d/b/a

 Parkview Builders Inc.:

          1.     LWF is a Pennsylvania business corporation maintaining its principal place

 of business at 52 Mill Street, Christiana, PA 17509.

          2.     On March 22, 2022, LWF filed a voluntary petition for relief under Chapter

 11 of the United States Bankruptcy Code, 11 U.S.C. § 101, et seq. (the “Code”) in the

 United States Bankruptcy Court for the Eastern District of Pennsylvania at Case No. 22-

 10695.

          3.     Defendant Parkview Builders LLC is a New York business corporation doing

 business as Parkview Builders Inc and maintaining a principal place of business at 234

 Broadway, 3rd Floor, Brooklyn, NY 11211.
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        4.      Pursuant to 28 U.S.C. § 1334(b), this Court has “related to”jurisdiction over

 the claims set forth below, as their outcome could significantly alter LWF as debtor’
                                                                                     s rights,

 liabilities, options, or freedom of action (either positively or negatively) and which in any

 way impacts upon the handling and administration of the bankrupt estate. Pacor, Inc. v.

 Higgins, 743 F.2d 984, 994 (3d Cir. 1984).

                                              Facts

        5.      LWF entered into a subcontract dated August 10, 2020 for furnishing,

 fabricating, delivering and installing certain structural steel and related components with

 Defendant for a project known as 306 Rodney Street (the “Project”). A copy of the

 Subcontract between LWF and Defendant for the Project (hereinafter the “Subcontract”) is

 attached hereto as Exhibit A, and incorporated herein as if set forth at length.

        6.      In reliance upon the Subcontracts, LWF supplied labor, material and

 equipment to fabricate steel to Defendant’
                                          s specifications for the Project, which LWF

 attempted repeatedly to schedule and arrange for delivery to the Project site for erection

 and installation.

        7.      As of the date of filing this Complaint, LWF had completed $231,952.50 in

 materials fabrication work pursuant to Defendant’
                                                 s directives and the Subcontract for the

 Project. LWF’
             s unpaid pay applications and account summary for the Project are attached

 hereto as Exhibit B and incorporated as if set forth at length.

        8.      Despite repeated demand, Defendant has failed and refused to pay LWF

 any portion of the $231,952.50 due and owing, and the finished steel remains at LWF’
                                                                                    s

 facility ready for delivery.
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        9.        Defendant is aware the steel is fabricated and ready at significant cost to

 LWF (and significant savings to Defendant considering current steel pricing), and has

 received LWF’
             s invoices for the completed work, but has provided no justification for

 withholding payment of the $231,952.50 currently invoiced and due.

        10.       Despite repeated demand, Defendant has denied payment to LWF for its

 work for the Project pursuant to the parties’Subcontract, leaving a principal balance due

 and owing of $231,952.50, exclusive of attorneys’fees, costs, and statutory interest and

 penalties.


                                             COUNT I

                                     BREACH OF CONTRACT

      Little Washington Fabricators, Inc. v. Parkview Builders LLC d/b/a Parkview
                                      Builders Inc.

        11.       LWF incorporates its allegations from the paragraphs above as if set forth at

 length herein.

        12.       Despite demand, Defendant has failed and/or refused to pay LWF the open

 and unpaid balances due and owing, which failure constitutes a breach of contract.

        13.       All conditions prerequisite to LWF’
                                                    s entitlement to payment have been

 satisfied.

        14.       Defendant is liable to LWF in the sum of $231,952.50, plus applicable pre-

 and post-judgment interest, attorneys’fees and costs.


        WHEREFORE, Plaintiff demands judgment in its favor and against Defendant

 Parkview Builders LLC d/b/a Parkview Builders Inc. in the sum of $231,952.50 plus
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 statutory pre- and post-judgment interest, attorneys’fees, costs and such other relief as

 the Court deems appropriate.


                                            COUNT II

                                  NEW YORK PAYMENT ACT

     Little Washington Fabricators, Inc. v. Parkview Builders LLC d/b/a Parkview
                                     Builders Inc.

        15.       LWF incorporates its allegations from the paragraphs above as if set forth at

 length herein.

        16.       Pursuant to the New York Payment Act, N.Y. Gen. Bus. Law §756-a, et seq.,

 a subcontractor is entitled to recover in addition to all sums due and owing, interest

 calculated at 12% per annum on open and unpaid balances.

        17.       LWF requests leave of court to submit said items of damage at or following

 trial in order to properly calculate the statutory damages due and owing as a result of

 Defendant’
          s breach of contract.


        WHEREFORE, Plaintiff demands judgment in its favor and against Defendant

 Parkview Builders LLC d/b/a Parkview Builders Inc. in the sum of $231,952.50 plus

 statutory pre- and post-judgment interest, costs and such other relief as the Court

 deems appropriate.
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                                            COUNT III

                    DETRIMENTAL RELIANCE/PROMISSORY ESTOPPEL

      Little Washington Fabricators, Inc. v. Parkview Builders LLC d/b/a Parkview
                                      Builders Inc.

        22.       LWF incorporates its allegations from the paragraphs above as if set forth at

 length herein.

        23.       To the extent any portion of LWF’
                                                  s claim against Defendant is excluded

 from Count I, this Count III is pled in the alternative.

        24.       LWF relied to its detriment on the ongoing directives and consent of

 Defendant to LWF’
                 s provision of labor and materials, so that Defendant is estopped from

 denying the existence of the above-described payment obligations, including to the extent

 Defendant asserts that some portion of those obligations fell outside of or were otherwise

 waived under the Subcontract.

        25.       Defendant, among other things, conducted itself as if the above-described

 Subcontract was in full force and effect between it and LWF, as if all work directed by

 Defendant was authorized by Defendant and the owner of the Project, and necessary and

 binding upon LWF; and in fact, Defendant accepted and utilized LWF’
                                                                   s labor and

 materials in furtherance of the Project needs.

        26.       Based on Defendant’
                                    s ongoing representations, LWF reasonably relied

 upon Defendant’
               s continuing adherence to the Subcontract between the parties and upon

 Defendant’
          s directives to perform –and approval and acceptance of –all work.

        27.       LWF did not breach any duties to Defendant which would bar LWF from

 asserting its right to recovery of all balances due in this matter.
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       WHEREFORE, Plaintiff demands judgment in its favor and against Defendant

 Parkview Builders LLC d/b/a Parkview Builders Inc. in the sum of $231,952.50 plus

 statutory pre- and post-judgment interest, attorneys’fees, costs and such other relief as

 the Court deems appropriate.


                                          EASTBURN AND GRAY, PC
       5/13/22
 DATE:__________
                                      By:________________________________
                                         ROBERT R. WATSON, JR.
                                         Special Counsel for Little
                                         Washington Fabricators, Inc.

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